Case 3:13-cv-01132-RNC Document 500-3 Filed 02/13/15 Page1of7

Exhibit C
Case 3:13-cv-01132-RNC Document 500-3 Filed 02/13/15 Page 2 of7

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

GERVIL ST. LOUIS, a/k/a ST. LOUIS GERVIL Lead Civil Action No.:
3:13-cv-01132-RNC
Plaintiff,
Consolidated with:
3:13-cv-1225 3:13-cv-1640
V. 3:13-ev-1269 3:13-cv-1641
3:13-cv-1437 3:13-cv-1642
DOUGLAS PERLITZ; FATHER PAUL E. CARRIER, S.J.; 3:13-cv-1480 3:13-cv-1644
Hope E. CARTER; HAITI FUND, INC.; FAIRFIELD 3:13-cv-1626 3:13-cv-1645
UNIVERSITY; THE SOCIETY OF JESUS OF NEW 3:13-cv-1627 3:13-cv-1647
ENGLAND; SOVEREIGN MILITARY HOSPITALLER 3:13-cv-1628 3:13-cv-1648
ORDER OF ST. JOHN OF JERUSALEM OF RHODES AND 3:13-cv-1629 3:13-cv-170]
OF MALTA, AMERICAN ASSOCIATION, U.S.A., a/k/a 3:13-cv-1630 3:13-ev-1767
ORDER OF MALTA, AMERICAN ASSOCIATION, USA 3:13-cv-1631 3:13-cv-1768
JOHN DOE ONE; JOHN DOE Two; JOHN DOE THREE; 3:13-cv-1632 3:13-cv-1769
JOHN DOE FOUR; JOHN DOE FIVE; JOHN DOE SIX; and 3:13-cv-1633 3:13-cv-1881
JOHN DOE SEVEN, 3:13-cv-1634 3:13-cv-1904
3:13-cv-1635 3:13-cv-1906
Defendants. 3:13-cv-1636 3:13-cv-1907
3:13-cv-1637 3:14-cv-0125
3:13-cv-1638 3:14-cv-0668
3:13-cv-1639 3:14-cv-0815
This document applies to:
All cases
September 20, 2014

PLAINTIFF JOEL ALBERT’S RESPONSE TO
CERTAIN DEFENDANTS’ FIRST SET OF INTERROGATORIES

Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff Joel Albert hereby responds
to the First Set of Interrogatories served by Hope E. Carter, Fr. Paul E. Carrier, Fairfield University,
The Society of Jesus of New England, and the Sovereign Military Hospitaller Order of St. John of
Jerusalem of Rhodes and of Malta, American Association, U.S.A. (collectively, “Certain
Defendants”), and incorporates herein by reference the General Objections and Objections to
Individual Interrogatories contained in the previously served Plaintiffs’ Master Objections to First
Set of Interrogatories Propounded by Certain Defendants to All Plaintiffs.

INTERROGATORIES

INTERROGATORY NO, J

Please state your full name (and any other name(s) by which you have been known), your date of
birth, and the address of your residence or location where you live. If you cannot state your date
Case 3:13-cv-01132-RNC Document 500-3 Filed 02/13/15 Page 3of7

of birth, please state your best approximation and the basis for that approximation.

Answer To Interrogatory No. 1

My name is Joél Albert, A.K.A Lepere. | was born on June 3", 1989. I live in Ste Philomene.
INTERROGATORY NO. 2

Please state each residence address or location where you have lived from birth to present date,
identifying each person with whom you lived at each location.

Answer To Interrogatory No. 2

My first address was in Blue Hills, the house had no number. | lived with a girl. Now I live in Ste
Philomene. | have five people in the house, they are: Lovely, Christine, Emmanuel, Makli, and a
baby.

INTERROGATORY NO, 3
Identify each current and former spouse, and for each one, state the date and location of your
marriage to each, and if any marriage ended in divorce, the date and location (court) of each
divorce.
Answer To Interrogatory No. 3

I am not married.

INTERROGATORY NO, 4

With regard to your family, please identify your parents, all of your siblings (including biological,
step, adopted, and/or foster siblings), and all of your children (including biological, adopted, step,
and/or foster children).

Answer To Interrogatory No. 4
My mom is Lisita, my dad is Elibé Albert. I have four brothers: Eliphéte Albert, Jonel Albert, Walky
Albert, and Joclyne Albert. I have one sister, Ana Rose Albert. I have one step brother, I can’t

remember his name. | have some step sisters: Rose Marta, Anne, Mago, Titit, there are others I can’t
remember their names. I have a son, his name is Steeve and a daughter, her name is Djenika.

INTERROGATORY 5

Please identify all schools that you attended as a student, starting with elementary school, and for
each such school state: (i) the dates you attended; (ii) the grade level(s) or year(s) you completed;
Case 3:13-cv-01132-RNC Document 500-3 Filed 02/13/15 Page 4of7

I received sneakers, clothes, money for chores like washing dishes, sweeping. I would get about
$150 to 200 Haitian Dollars every Friday. I also worked at Bel Air on Sundays at the gate. I
received $500 - $800 every 15 days every Sunday when I finished working. Pere Paul also gave
me money. He would give me about $50 to $100 American Dollars. Madame Carter also gave me
gifts and money. She has given me $300 Haitian Dollars. Douglas gave me money after he had sex
with me. He would give me about $100 - $700 Haitian Dollars.

INTERROGATORY NO. 18

Have you received any money, gift or item of value from any defendant, and, if so, please state
what was received, from whom, and the date(s) of receipt.

Answer To Interrogatory No. 18
See Answer No. 17

INTERROGATORY NO. 19

With regard to the allegations of sexual abuse, sexual misconduct, or sexual exploitation
committed against you (“abuse”) by Perlitz which you allege in your Complaint:

a. state every date in chronological order on which you claim that Perlitz abused you and if
you cannot, state your best approximation of those dates and state the basis for that
approximation;
state the number of occasions on which you allege you were abused by Perlitz;

C. state exactly what you allege occurred during each alleged instance of abuse by Perlitz
including the location, date, time, and duration of the abuse, and;

d. identify each person known to you who observed or witnessed the abuse alleged in your
Complaint.

Answer To Interrogatory No. 19

I was sexually abused by Perlitz at a time when I was at the Village. I do not know exact dates,
times, or duration. The abuse included fondling, fellatio, and sodomy. I can recall six times that
this happened to me. I believe Jessica and Brittany were in Haiti for all six times. The first time
that I can recall, he made me put his penis in my mouth. He also put his mouth on my penis. This
happened at Bel Air. I was working at the gate, and he called me into the house. When he was
finished, he gave me $100 Haitian Dollars. The second time, he did the same thing to me. He gave
me $200 Haitian Dollars. The third time, he had sex with me. It was in the afternoon at Bel Air.
He inserted his penis in my buttocks. That day, he gave me $700 Haitian Dollars. The fourth time,
he made me put my mouth on his penis, and he put his mouth on my penis. He first took me out to
eat and we drank alcohol. He was forcing me. We were in his bedroom and we closed the door,
but I believe Jessica and Brittany were upstairs, and the security people were at the portal. He gave
me no money that day. The fifth time, he had sex with me again at Bel Air. It was in his bedroom.
We first watched pornographic movies on his laptop. After, he inserted his penis in my buttocks.
He gave me $500 Haitian Dollars. Madame Carter saw me in Douglas’ bedroom just after we had
Case 3:13-cv-01132-RNC Document 500-3 Filed 02/13/15 Page5of7

sex. She opened the door to Douglas’ bedroom just as | was getting dressed and saw us. | had
boxers on about to put on my pants. Douglas was only wearing boxers and was still sitting on the
bed. Madame Carter turned and went outside and then I went outside. Madame Carter put her hand
on my hand and said some English words to me. Madame Carter then went to talk to Douglas in
his room. The sixth time, Douglas had sex with me. Douglas, Pere Paul, Emmanuel and I watched
pornographic movies in Douglas’ bedroom. While we were watching, we were all on Douglas’
bed, and Douglas was touching me on my chest. | believe that Pere Paul was touching Emmanuel.
When we finished watching, I stayed with Douglas in his bedroom. Pere Paul and Emmanuel left
the room. Douglas inserted his penis in my buttocks. Jessica was aware we went out. She knew
we were sleeping there. Jessica and Brittany slept at Bel Air that night. The next morning, Jessica
gave me $300 Haitian Dollars. Pere Paul saw me again in the morning. Emmanuel told me that
Pere Paul had sex with him.

INTERROGATORY NO. 20

State whether you have ever denied that you were a victim of the abuse alleged in your Complaint.
If the answer is yes, please identify each person to whom you denied the alleged abuse, the
date when you denied the alleged abuse, and the circumstances by which you denied the alleged
abuse.

Answer To Interrogatory No. 20

I have told people on the street that I was not abused because they were making fun of me. People
would see me and say that I was doing faggot things and I said I did not do such things. | did not
want people that I didn’t know talking about me and calling me a faggot.

INTERROGATORY NO. 21

Identify any person, other than Perlitz, who you allege ever sexually molested, sexually abused
or sexually exploited you, including the date of abuse, relationship of the abuser to you, location
of abuse, identity of any person or entity to whom you reported the abuse, the date you reported
the abuse, and, if you denied the abuse, state the date and to whom you denied the abuse.

Answer To Interrogatory No. 21

I can recall one time that Pere Paul squeezed my buttocks and anus when I was sleeping on a couch
at Bel Air. I believed it was intended to be sexual. I was sleeping on the couch and Pere Paul sat
down on the couch close to me. This happened about two weeks after the last time Douglas had sex
with me. It happened before Christmas and Jessica and Brittany were in Haiti. Pere Paul did not
give me money that night, but he gave me money from time to time after that. I saw Jessica and
Nicholas the next morning at Bel Air. See also Answer No. 19.

INTERROGATORY NO. 22

Please state whether you were ever threatened or coerced at any time by any individual (including
but not limited to Perlitz) not to report any claim of sexual abuse, and/or whether you were
Case 3:13-cv-01132-RNC Document 500-3 Filed 02/13/15 Page 6 of 7

Dated: September 20, 2014 Signed as to incorporated objections,

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